                  IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                      Civil Action No.: 7:23-cv-01625-M-RJ

BRIANA PAULL, INDIVIDUALLY;
BRIANA PAULL, as guardian of
A.P, A.P., R.K. Jr.,
and A.F., her minor children;
and BRIANA PAULL, as class representative
on behalf of the class defined herein,

                          Plaintiffs,

vs.

THE TOWN OF HOLLY RIDGE; et al.

                          Defendants


________________________________________________________________________

             ANSWER OF THE PENDERGRAPH DEFENDANTS
            TO FIRST AMENDED CLASS ACTION COMPLAINT
    AND CROSS-CLAIMS AGAINST THE HOLLY RIDGE DEFENDANTS
________________________________________________________________________


         COME       NOW        Defendants     The    Pendergraph    Companies,        LLC;

Pendergraph Development,         LLC;       Pendergraph   Management,         LLC;        and

Frankie W. Pendergraph (collectively referred to as the “Pendergraph Defendants”),

by and    through   counsel,    and hereby respond to       the specific    allegations    of

the First Amended Class Action Complaint filed in this matter as follows:

                                        PARTIES

         1.     The allegations in paragraph 1 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that the allegations in

paragraph 1 of the First Amended Complaint are directed at the Pendergraph Defendants




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and a response is required, the Pendergraph Defendants are without knowledge or

information sufficient to form a belief as to the truth of such allegations, and therefore,

the allegations are denied.

          2.   As to the allegations in paragraph 2 of the First Amended Complaint,

it is admitted that the Town of Holly Ridge is a North Carolina political subdivision

located in Onslow County, North Carolina.         Except as admitted, the allegations in

paragraph 2 of First Amended Complaint contain legal conclusions to which no response

is required.    To the extent that the remaining allegations in paragraph 2 of

the First Amended Complaint are directed at the Pendergraph Defendants and a response

is required, the Pendergraph Defendants are without knowledge or information sufficient

to form a belief as to the truth of such allegations, and therefore, the allegations are

denied.

          3.   The allegations in paragraph 3 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that the allegations in

paragraph 3 of the First Amended Complaint are directed at the Pendergraph Defendants

and a response is required, the Pendergraph Defendants are without knowledge or

information sufficient to form a belief as to the truth of such allegations, and therefore,

the allegations are denied.

          4.   The allegations in paragraph 4 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that the allegations in

paragraph 4 of the First Amended Complaint are directed at the Pendergraph Defendants

and a response is required, the Pendergraph Defendants are without knowledge or




                                            2
information sufficient to form a belief as to the truth of such allegations, and therefore,

the allegations are denied.

       5.      The allegations in paragraph 5 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that the allegations in

paragraph 5 of the First Amended Complaint are directed at the Pendergraph Defendants

and a response is required, the Pendergraph Defendants are without knowledge or

information sufficient to form a belief as to the truth of such allegations, and therefore,

the allegations are denied.

       6.      Admitted.

       7.      The allegations in paragraph 7 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that the allegations in

paragraph 7 of the First Amended Complaint are directed at the Pendergraph Defendants

and a response is required, the Pendergraph Defendants are without knowledge or

information sufficient to form a belief as to the truth of such allegations, and therefore,

the allegations are denied.

                              JURISDICTION AND VENUE

       8.      The allegations in paragraph 8 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is

required, the Pendergraph Defendants deny the allegations contained in paragraph 8 of

the First Amended Complaint, and specifically deny that this action can or should be

maintained as a class action.

       9.      The allegations in paragraph 9 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is




                                            3
required, the Pendergraph Defendants deny the allegations contained in paragraph 9 of

the First Amended Complaint.

          10.   The allegations in paragraph 10 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that the allegations in

paragraph 10 of the First Amended Complaint are directed at the Pendergraph Defendants

and a response is required, the Pendergraph Defendants admit that they are subject to

personal jurisdiction in this judicial district.   Except as expressly admitted herein,

the Pendergraph Defendants are without knowledge or information sufficient to form

a belief as to the truth of the remaining allegations, and therefore, the allegations are

denied.

          11.   The allegations in paragraph 11 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is

required, the Pendergraph Defendants deny the allegations contained in paragraph 11 of

the First Amended Complaint.

                   FACTS UNDERLYING PLAINTIFFS’ CLAIMS

          12.   Admitted, upon information and belief.

          13.   Admitted, upon information and belief.

          14.   The Pendergraph Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in paragraph 14 of

the First Amended Complaint, and therefore, the allegations are denied.

          15.   As to the allegations in paragraph 15 of the First Amended Complaint,

it is admitted that Holly Ridge Housing Authority entered into a Management Agreement

with Pendergraph Management, LLC on May 1, 2019, which document speaks for itself.




                                             4
Except as admitted, the allegations in paragraph 15 of the First Amended Complaint are

denied.

          16.   The Pendergraph Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in paragraph 16 of

the First Amended Complaint, and therefore, the allegations are denied.

          17.   Denied.

          18.   Admitted, upon information and belief.

          19.   Admitted, upon information and belief.

          20.   As to the allegations in paragraph 20 of the First Amended Complaint,

it is admitted that the regulations promulgated by HUD under 24 CFR § 5.703, speak for

themselves. Except as expressly admitted, the remaining allegations in paragraph 20

of the First Amended Complaint contain legal conclusions to which no response is

required. To the extent that a response is required, the Pendergraph Defendants deny

the remaining allegations in paragraph 20 of the First Amended Complaint.

          21.   Denied.

          22.   The Pendergraph Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in paragraph 22

of the First Amended Complaint, and therefore, such allegations are denied.

          23.   The allegations in paragraph 23 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is

required, the Pendergraph Defendants deny the allegations contained in paragraph 23 of

the First Amended Complaint.




                                            5
          24.   To the extent that the allegations contained in paragraph 24 of

the First Amended Complaint are directed to the Pendergraph Defendants, the allegations

are denied.

          25.   The Pendergraph Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in paragraph 25

of the First Amended Complaint, and therefore, such allegations are denied.

          26.   To the extent that the allegations contained in paragraph 26 of

the First Amended Complaint are directed to the Pendergraph Defendants, the allegations

are denied.

          27.   Admitted.

          28.   Denied.

          29.   As to the allegations in paragraph 29 of the First Amended Complaint,

it is admitted that the Plaintiff Briana Paull contacted Pendergraph Management, LLC

in the fall of 2022, with a complaint regarding water intrusion and that

Pendergraph Management, LLC remediated the issue. Except as expressly admitted,

denied.

          30.   As to the allegations in paragraph 30 of the First Amended Complaint,

it is admitted that the Plaintiff Briana Paull contacted Pendergraph Management, LLC

in the fall of 2022, with a complaint regarding water intrusion and that

Pendergraph Management, LLC remediated the issue. Except as expressly admitted,

denied.

          31.   As to the allegations in paragraph 31 of the First Amended Complaint,

it is admitted that the Plaintiff Briana Paull contacted Pendergraph Management, LLC




                                           6
in the fall of 2022, with a complaint regarding water intrusion and that

Pendergraph Management, LLC remediated the issue. Except as expressly admitted,

denied.

          32.   Denied.

          33.   As to the allegations in paragraph 33 of the First Amended Complaint,

it is admitted that Pendergraph Management, LLC had testing performed for mold

in Plaintiffs unit in the fall of 2022. Except as expressly admitted, denied.

          34.   Denied.

          35.   Admitted.

          36.   As to the allegations in paragraph 36 of the First Amended Complaint,

it is admitted that the Plaintiff Briana Paull contacted Pendergraph Management, LLC

in the fall of 2022, with a complaint and that Pendergraph Management, LLC remediated

the issue. Except as expressly admitted, denied.

          37.   Denied.

          38.   As to the allegations in paragraph 38 of the First Amended Complaint,

it is admitted that Pendergraph Management, LLC remediated a water leak issue from

a washing machine in another unit in Building G in early 2023. Except as expressly

admitted herein, denied.

          39.   As to the allegations in paragraph 39 of the First Amended Complaint,

it is admitted that Pendergraph Management, LLC hired Service Master to assist with

remediation efforts in Building G. Except as expressly admitted herein, denied.

          40.   As to the allegations in paragraph 40 of the First Amended Complaint,

it is admitted that Pendergraph Management, LLC hired Service Master to assist with




                                             7
remediation efforts.      Except as admitted, The Pendergraph Defendants are without

knowledge or information sufficient to form a belief as to the truth of the allegations

contained in paragraph 40 of the First Amended Complaint, and therefore, the allegations

are denied.

          41.   As to the allegations in paragraph 41 of the First Amended Complaint,

it is admitted that Pendergraph Management, LLC remediated certain issues raised by

Plaintiff Briana Paull. Except as expressly admitted herein, denied.

          42.   As to the allegations in paragraph 42 of the First Amended Complaint,

it is admitted that Plaintiff Briana Paull requested the Material Safety Data Sheet

(“MSDS”) from a third-party vendor that Pendergraph Management, LLC had hired to

remediate certain issues raised by Plaintiff Briana Paull, and the third-party vendor

did not have the MSDS with him at that time. Except as expressly admitted herein,

denied.

          43.   As to the allegations in paragraph 43 of the First Amended Complaint,

it is admitted that Plaintiff Briana Paull requested the MSDS from a third-party vendor

that Pendergraph Management, LLC had hired to remediate certain issues raised by

Plaintiff Briana Paull, and the third-party vendor did not have the MSDS with him

at that time. Except as expressly admitted herein, denied.

          44.   Denied.

          45.   As to the allegations in paragraph 45 of the First Amended Complaint,

it is admitted that the Plaintiff Briana Paull contacted Pendergraph Management, LLC

in November 2022, with a complaint and that Pendergraph Management, LLC

remediated the issue. Except as expressly admitted, denied.




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       46.     As to the allegations in paragraph 46 of the First Amended Complaint,

it is admitted that Pendergraph Management, LLC hired Stanley Steamer to assist with

remediation efforts. Except as expressly admitted herein, denied.

       47.     Denied.

       48.     Denied.

       49.     Denied.

       50.     As to the allegations in paragraph 50 of the First Amended Complaint,

it is admitted that Pendergraph Management, LLC hired Stanley Steamer to assist with

remediation efforts. Except as expressly admitted herein, denied.

       51.     As to the allegations in paragraph 51 of the First Amended Complaint,

it is admitted that Pendergraph Management, LLC remediated the issues raised by

Plaintiff Briana Paull. Except as expressly admitted, denied.

       52.     The Pendergraph Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in paragraph 52

of the First Amended Complaint, and therefore, such allegations are denied.

       53.     The Pendergraph Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in paragraph 53

of the First Amended Complaint, and therefore, such allegations are denied.

       54.     The Pendergraph Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in paragraph 54

of the First Amended Complaint, and therefore, such allegations are denied.




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       55.    The Pendergraph Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in paragraph 55

of the First Amended Complaint, and therefore, such allegations are denied.

       56.    The Pendergraph Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in paragraph 56

of the First Amended Complaint, and therefore, such allegations are denied.

       57.    The Pendergraph Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in paragraph 57

of the First Amended Complaint, and therefore, such allegations are denied.

       58.    Admitted.

       59.    The Pendergraph Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in paragraph 59

of the First Amended Complaint, and therefore, such allegations are denied.

       60.    The Pendergraph Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in paragraph 60

of the First Amended Complaint, and therefore, such allegations are denied.

       61.    The Pendergraph Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in paragraph 61

of the First Amended Complaint, and therefore, such allegations are denied.

       62.    The Pendergraph Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in paragraph 62

of the First Amended Complaint, and therefore, such allegations are denied.




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       63.     The Pendergraph Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in paragraph 63

of the First Amended Complaint, and therefore, such allegations are denied.

       64.     As to the allegations in paragraph 64 of the First Amended Complaint,

it is admitted that Pendergraph Management, LLC notified the Town of Holly Ridge that

it was terminating the Management Agreement between Pendergraph Management, LLC

and The Town of Holly Ridge (successor to Holly Ridge Housing Authority) dated

May 1, 2019, as extended, upon 60 days advanced written notice. Except as admitted,

the allegations in paragraph 64 of the First Amended Complaint are denied.

                                       COUNT I –
                                   Breach of Contract
                          (Against Holly Ridge and Pendergraph)

       65.     As to the allegations in paragraph 65 of the First Amended Complaint,

the Pendergraph Defendants repeat and incorporate by reference their responses to

the allegations contained in the prior paragraphs of the First Amended Complaint

with the same force and effect as if fully set forth herein.

       66.     The allegations in paragraph 66 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is

required, the Pendergraph Defendants admit that they complied with any applicable

HUD regulations and standards at Holly Plaza.                  Except as admitted herein,

the Pendergraph Defendants deny the allegations contained in paragraph 66 of

the First Amended Complaint.




                                              11
       67.     To the extent that the allegations contained in paragraph 67 of

the First Amended Complaint are directed to the Pendergraph Defendants, the allegations

are denied.

       68.     Denied.

       69.     Denied.

       70.     Denied.

       71.     Denied.

       72.     The allegations in paragraph 72 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is

required, denied.

       73.     Denied.

                                    COUNT II –
                      RRAA; Breach Of Warranty Of Habitability
                        (Against Holly Ridge and Pendergraph)

       74.     As to the allegations in paragraph 74 of the First Amended Complaint,

the Pendergraph Defendants repeat and incorporate by reference their responses to

the allegations contained in the prior paragraphs of the First Amended Complaint with

the same force and effect as if fully set forth herein.

       75.     The allegations in paragraph 75 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is

required, the Pendergraph Defendants admit that they complied with any applicable

duties under North Carolina Residential Rental Agreements Act (“RRAA”),

N.C. Gen. Stat. § 42-38 et seq.. Except as admitted herein, the Pendergraph Defendants

deny the allegations contained in paragraph 75 of the First Amended Complaint.




                                              12
       76.    The allegations in paragraph 76 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is

required, the Pendergraph Defendants are without knowledge or information sufficient

to form a belief as to the truth of the allegations contained in paragraph 76

of the First Amended Complaint, and therefore, such allegations are denied.

       77.    The allegations in paragraph 77 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is

required, the Pendergraph Defendants admit that they complied with any applicable

duties under the RRAA. Except as admitted herein, the Pendergraph Defendants deny

the allegations contained in paragraph 77 of the First Amended Complaint.

       78.    The allegations in paragraph 78 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is

required, the Pendergraph Defendants admit that they complied with any applicable

duties under the RRAA. Except as admitted herein, the Pendergraph Defendants deny

the allegations contained in paragraph 78 of the First Amended Complaint.

       79.    The allegations in paragraph 79 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is

required, the Pendergraph Defendants admit that they complied with any applicable

duties under the RRAA. Except as admitted herein, the Pendergraph Defendants deny

the allegations contained in paragraph 79 of the First Amended Complaint.

       80.    The allegations in paragraph 80 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is

required, the Pendergraph Defendants admit that they complied with any applicable




                                           13
duties under the N.C. Gen. Stat. § 42-42(a)(1).           Except as admitted herein,

the Pendergraph Defendants deny the allegations contained in paragraph 80 of

the First Amended Complaint.

       81.    The allegations in paragraph 81 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is

required, the Pendergraph Defendants admit that they complied with any applicable

duties under the N.C. Gen. Stat. § 42-42(a)(2).           Except as admitted herein,

the Pendergraph Defendants deny the allegations contained in paragraph 81 of

the First Amended Complaint.

       82.    The allegations in paragraph 82 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is

required, the Pendergraph Defendants admit that they complied with any applicable

duties under the N.C. Gen. Stat. § 42-42(a)(8).           Except as admitted herein,

the Pendergraph Defendants deny the allegations contained in paragraph 82 of

the First Amended Complaint.

       83.    The allegations in paragraph 83 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is

required, the Pendergraph Defendants admit that they complied with any applicable

duties under the RRAA. Except as admitted herein, the Pendergraph Defendants deny

the allegations contained in paragraph 83 of the First Amended Complaint.

       84.    The allegations in paragraph 84 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is

required, the Pendergraph Defendants admit that they complied with any applicable




                                          14
duties under the N.C. Gen. Stat. § 42-42(b).             Except as admitted herein,

the Pendergraph Defendants deny the allegations contained in paragraph 84 of

the First Amended Complaint.

       85.    The allegations in paragraph 85 of the First Amended Complaint,

including each subpart, contain legal conclusions to which no response is required.

To the extent that a response is required, the Pendergraph Defendants admit that they

complied with any applicable duties under the N.C. Gen. Stat. § 42-42. Except as

admitted herein, the Pendergraph Defendants deny the allegations contained in paragraph

85, including each subpart, of the First Amended Complaint.

       86.    The allegations in paragraph 86 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is

required, the Pendergraph Defendants admit that they complied with any applicable

duties under the RRAA and North Carolina common law. Except as admitted herein,

the Pendergraph Defendants deny the allegations contained in paragraph 86

of the First Amended Complaint.

       87.    Denied.

       88.    Denied.

       89.    Denied.

       90.    Denied.

       91.    Denied.

       92.    Denied.




                                          15
                                         COUNT III
                                    Violations of UDTPA
                                   (against all Defendants)

          93.   As to the allegations in paragraph 93 of the First Amended Complaint,

the Pendergraph Defendants repeat and incorporate by reference their responses to

the allegations contained in the prior paragraphs of the First Amended Complaint with

the same force and effect as if fully set forth herein.

          94.   The allegations in paragraph 94 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is

required, the allegations contained in paragraph 94 of the First Amended Complaint are

denied.

          95.   The allegations in paragraph 95 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is

required, the allegations contained in paragraph 95 of the First Amended Complaint are

denied.

          96.   The allegations in paragraph 96 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is

required, the allegations contained in paragraph 96 of the First Amended Complaint are

denied.

          97.   The allegations in paragraph 97 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is

required, the allegations contained in paragraph 97 of the First Amended Complaint are

denied.

          98.   Denied.




                                              16
       99.     Denied, including each subpart.

       100.    Denied.

       101.    Denied.

       102.    Denied.

       103.    Denied.

       104.    Denied.

       105.    Denied.

       106.    Denied.

                                   COUNT IV
  Breach of Contract/Breach of Implied Covenant of Good Faith and Fair Dealing
                          (Against Town of Holly Ridge)

       107.    As to the allegations in paragraph 107 of the First Amended Complaint,

the Pendergraph Defendants repeat and incorporate by reference their responses to

the allegations contained in the prior paragraphs of the First Amended Complaint with

the same force and effect as if fully set forth herein.

       108.    To the extent that paragraph 108 of the First Amended Complaint is

directed at the Pendergraph Defendants, denied.

       109.    The allegations in paragraph 109 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is

required, the Pendergraph Defendants admit that they complied with any duties owed to

Plaintiffs. Except as admitted herein, the Pendergraph Defendants deny the allegations

contained in paragraph 109 of the First Amended Complaint.

       110.    Denied.




                                              17
       111.   The allegations in paragraph 111 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is

required, the Pendergraph Defendants admit that they complied with any implied

covenant to act fairly and in good faith owed to Plaintiffs. Except as admitted herein,

the Pendergraph Defendants deny the allegations contained in paragraph 111

of the First Amended Complaint.

       112.   The allegations in paragraph 112 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is

required, the Pendergraph Defendants admit that they complied with any obligations

owed    by    the   Pendergraph    Defendants.       Except      as   admitted   herein,

the Pendergraph Defendants   deny the allegations         contained in   paragraph 112

of the First Amended Complaint.

       113.   The allegations in paragraph 113 of the First Amended Complaint,

including each subpart, contain legal conclusions to which no response is required.

To the extent that a response is required, the Pendergraph Defendants admit that they

complied with any obligations owed by the Pendergraph Defendants. Except as admitted,

the Pendergraph Defendants   deny the allegations         contained in   paragraph 113

of the First Amended Complaint, including each subpart.

       114.   Denied.

       115.   Denied.

       116.   Denied.




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                                        COUNT V
                                        Negligence
                                  (Against all Defendants)

       117.    As to the allegations in paragraph 117 of the First Amended Complaint,

the Pendergraph Defendants repeat and incorporate by reference their responses to

the allegations contained in the prior paragraphs of the First Amended Complaint with

the same force and effect as if fully set forth herein.

       118.    The allegations in paragraph 118 of the First Amended Complaint,

including each subpart, contain legal conclusions to which no response is required.

To the extent that a response is required, the Pendergraph Defendants admit that they

complied with any duties owed by the Pendergraph Defendants to the Plaintiffs.

Except as admitted herein, the Pendergraph Defendants deny the allegations contained in

paragraph 118 of the First Amended Complaint, including each subpart.

       119.    Denied.

       120.    Denied.

       121.    Denied.

       122.    Denied.

       123.    Denied.

                                    COUNT VI
                         Temporary Recurrent Private Nuisance
                               (Against all Defendants)

       124.    As to the allegations in paragraph 124 of the First Amended Complaint,

the Pendergraph Defendants repeat and incorporate by reference their responses to

the allegations contained in the prior paragraphs of the First Amended Complaint with

the same force and effect as if fully set forth herein.




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       125.    The allegations in paragraph 125 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is

required, the Pendergraph Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations contained in paragraph 125

of the First Amended Complaint, and therefore, such allegations are denied.

       126.    Denied.

       127.    Denied.

       128.    Denied.

       129.    Denied.

       130.    Denied.

                                     COUNT VII
                                  Punitive Damages
                     (Against Town of Holly Ridge and Pendergraph)

       131.    As to the allegations in paragraph 131 of the First Amended Complaint,

the Pendergraph Defendants repeat and incorporate by reference their responses to

the allegations contained in the prior paragraphs of the First Amended Complaint with

the same force and effect as if fully set forth herein.

       132.    Denied.

       133.    Paragraph 133 of the First Amended Complaint does not contain

any legal or factual allegations to which a response is required.     To the extent that

a response is required, it is admitted that the First Amended Complaint speaks for itself.

Except as admitted herein, denied.

       134.    The allegations in paragraph 134 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is




                                              20
required, the Pendergraph Defendants admit that N.C. Gen. Stat. § 1D-15 speaks for

itself. Except as admitted herein, denied.

       135.    Denied.

       136.    Denied.

       137.    Denied.

       138.    Denied, including each subpart.

                           CLASS ACTION ALLEGATIONS

       139.    To the extent that Paragraph 139 alleges legal conclusions or a description

of this action, no response is required.      To the extent that a response is required,

the Pendergraph Defendants deny the allegations contained in paragraph 139 of

the First Amended Complaint, and further deny that this action can or should be

maintained as a class action.

       140.    The allegations in paragraph 140 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is

required, the Pendergraph Defendants admit that Fed. R. Civ. Pr. 23(b)(3) speaks for

itself. Except as admitted herein, denied. The Pendergraph Defendants specifically deny

that this action can or should be maintained as a class action.

       141.    To the extent that Paragraph 141 alleges legal conclusions or a description

of this action, no response is required.      To the extent that a response is required,

the Pendergraph Defendants deny the allegations contained in paragraph 141 of

the First Amended Complaint, and further deny that this action can or should be

maintained as a class action.




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       142.    To the extent that Paragraph 142 alleges legal conclusions or a description

of this action, no response is required.      To the extent that a response is required,

the Pendergraph Defendants deny the allegations contained in paragraph 142 of

the First Amended Complaint, and further deny that this action can or should be

maintained as a class action.

       143.    Denied.

       144.    Denied.

       145.    Denied, including each subpart.

       146.    Denied, including each subpart.

       147.    Denied.

       148.    Denied.

       149.    The allegations in paragraph 149 of the First Amended Complaint contain

legal conclusions to which no response is required. To the extent that a response is

required, the Pendergraph Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations contained in paragraph 149

of the First Amended     Complaint,    and    therefore,   such   allegations   are   denied.

It is specifically denied that this action can or should be maintained as a class action.

       150.    Denied.

       151.    To the extent that Paragraph 151 alleges legal conclusions or a description

of this action, no response is required.      To the extent that a response is required,

the Pendergraph Defendants deny the allegations contained in paragraph 151 of

the First Amended Complaint, and further deny that this action can or should be

maintained as a class action.




                                             22
       152.      Denied.

       153.      Denied.

                                   GENERAL DENIAL

       Unless specifically admitted herein, the Pendergraph Defendants deny the truth of

each and every allegation set forth in the First Amended Complaint, including

the allegations and statements contained in the prayer for relief.


                               AFFIRMATIVE DEFENSES

                                 First Affirmative Defense

       The entity involved in the management of the Holly Plaza Apartments as alleged

in the First Amended Complaint was Defendant Pendergraph Management, LLC, and

Defendants The Pendergraph Companies, LLC; Pendergraph Development, LLC; and

Frankie W. Pendergraph as the Managing Member of The Pendergraph Companies, LLC

and Pendergraph Development, LLC were not involved in the management of

the property.     As a result, the First Amended Complaint asserts claims against

wrong entities     and     the claims   against   The Pendergraph    Companies,     LLC;

Pendergraph Development, LLC; and Frankie W. Pendergraph should be dismissed.

                                Second Affirmative Defense

       The First Amended Complaint fails to state a claim upon which relief against

the Pendergraph Defendants may be granted.

                                 Third Affirmative Defense

       The Plaintiffs’ action is not maintainable as a class action because the Plaintiffs

fail to satisfy the applicable requirements of federal law.




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                               Fourth Affirmative Defense

       The Plaintiffs’ claims and/or the claims of the putative class members are barred,

in whole or in part, by the applicable statute of limitations and/or statute of repose of

the State of North Carolina.

                                Fifth Affirmative Defense

       The Plaintiffs and some or all of the members of the putative class lack standing

to assert the claims in the First Amended Complaint.

                                Sixth Affirmative Defense

       The Plaintiff’s claims and/or the claims of putative class members, are barred,

in whole or in part, by the doctrines of estoppel, unclean hands, waiver, consent, and

other equitable limitations.

                               Seventh Affirmative Defense

       The Plaintiff’s claims and/or the claims of putative class members, are barred or

limited because the damages or injuries to the Plaintiffs and/or putative class members,

to the extent any exist, were caused in whole or in part by the acts or omissions of

third parties over which the Pendergraph Defendants had and have no control, and/or

by the acts or omissions of the Plaintiffs or the putative class members.

                               Eighth Affirmative Defense

       The Plaintiff’s claims and/or the claims of putative class members, are limited

to the extent that the Plaintiffs and/or some or all of the members of the putative class

failed to mitigate their alleged damages.




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                                   Ninth Affirmative Defense

       The Plaintiff’s recovery and the recovery for the putative class are barred in

whole or in part to the extent that they seek damages that would constitute a duplicative

recovery.

                                   Tenth Affirmative Defense

       The Plaintiffs’ claims and/or the claims of the putative class members are barred

or limited by the doctrine of accord and satisfaction.

                              Eleventh Affirmative Defense

       In the event that the putative class is certified, the Pendergraph Defendants

reserve all rights to assert any and all other and further defenses against any member of

the class that may be certified.

                               Twelfth Affirmative Defense

       The Pendergraph Defendants neither owed nor breached any legal duty to

the Plaintiffs and/or the putative class members.        Specifically, the Plaintiffs and/or

the putative   class   members        cannot   prove     a        prima   facie   case   because

the Pendergraph Defendants breached no duty whatsoever to the Plaintiffs and/or

any putative class member whether arising by statute, by common law, or otherwise,

including, but not limited to, any duty to warn of any dangers; and no act or omission by

the Pendergraph Defendants         proximately caused        or    proximately    contributed   to

the Plaintiffs’ or any putative class members’ alleged injuries or damages.

                             Thirteenth Affirmative Defense

       The Pendergraph Defendants conformed to the scientific knowledge and data

available to the industry and fulfilled its obligations, if any, and its activities and




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undertakings, if any, were conducted in a reasonable fashion, without recklessness,

malice or wantonness, and the Plaintiffs and/or putative class members may not recover

herein any exemplary or punitive damages against the Pendergraph Defendants.

                            Fourteenth Affirmative Defense

       At all times during the conduct of their corporate operations, the agents, servants

and/or employees of the Pendergraph Defendants complied with all applicable law,

governmental and industry rules, regulations, standards, and specifications, as well as

the available knowledge and technology of the medical, scientific and industrial

communities.

                              Fifteenth Affirmative Defense

       The claims against the Pendergraph Defendants are barred, in whole or in part,

because, if it is judicially determined that the injuries and damages alleged

in the First Amended      Complaint      were      caused     by       any   conduct     of

the Pendergraph Defendants, which is denied, those alleged injuries and damages were

caused by the Plaintiffs’ and/or the putative class members’ idiosyncratic reaction or

peculiar susceptibility as set forth in N.C. Pattern Jury Instruction 102.20, and therefore,

any alleged harmful consequences resulting from the Pendergraph Defendant’s alleged

negligence would not be reasonably foreseeable, and would not be a proximate cause of

the Plaintiffs’ and/or the putative class members’ alleged injuries.

                             Sixteenth Affirmative Defense

       The claims against the Pendergraph Defendants are barred, in whole or in part,

to the extent the federal government has preempted the field of law applicable to

the property where the Plaintiffs and/or the putative class members are alleged to have




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sustained injuries and damages.        Specifically, the property at issue was regularly

inspected by federal or other governmental officials and found to comply with any and

all federal regulations pertaining to the property.

                             Seventeenth Affirmative Defense

       As to all the causes of action pleaded in the First Amended Complaint which may

be based upon express or implied warranties and/or representations, such causes of action

are legally insufficient, as against the Pendergraph Defendants, by reason of the failure of

privity of contract between the Plaintiffs and/or the putative class members and

the Pendergraph Defendants, which is specifically denied.

                             Eighteenth Affirmative Defense

       The warranty-based claims against the Pendergraph Defendants are barred or

limited by applicable conditions, disclaimers, and/or lack of privity.

                             Nineteenth Affirmative Defense

       The Plaintiffs’ claims and/or the claims of the putative class members for

exemplary    or   punitive    damages     against     the   Pendergraph Defendants   violate

the Pendergraph Defendants’ rights under Article 1, §§ 1, 10, and 19 and the Fifth, Sixth,

Eighth, and Fourteenth Amendments of the United States Constitution, the Constitution

of the State of North Carolina, and any other state’s law that might apply, in that

such damages deprive the Pendergraph Defendants of procedural and substantive

Due Process; subject the Pendergraph Defendants to Double Jeopardy; deprive

the Pendergraph Defendants of Equal Protection; give the jury unfettered discretion to

award punitive damages on vague grounds with no objective standards, without




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the presumption of innocence, and improperly allows for joint and several liability

resulting in different penalties for the same or similar acts.

                              Twentieth Affirmative Defense

       The Plaintiffs and/or putative class members are not entitled to any award of

punitive damages against the Pendergraph Defendants due to the lack of existence of

clear and convincing evidence of any aggravating factor and because the Plaintiffs and/or

putative class members have failed to properly plead any aggravating factor with

particularity that purportedly supports a claim and demand for punitive damages,

in violation of N.C.G.S. § 1D-15, Rule 9(k) of the North Carolina Rules of

Civil Procedure, or other similar applicable legal authority.

                            Twenty-First Affirmative Defense

       Any award for punitive damages in this action based on anything other than

the Pendergraph Defendants’ conduct in connection with the management of the property

that is subject of this lawsuit would violate the due process clause of

the Fourteenth Amendment to the United States Constitution and North Carolina

Constitution, and would be improper under the common law and public policies of

the State of North Carolina because any other judgment for punitive damages in this case

cannot protect the Pendergraph Defendants against impermissible multiple punishment

for the same wrong.

                           Twenty-Second Affirmative Defense

       The Pendergraph Defendants are not proper party defendants in this action.




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                          Twenty-Third Affirmative Defense

       The events, injuries, and damages alleged in the First Amended Complaint

were caused, in whole or in part, by the conduct of the Plaintiffs and/or

putative class members, including, but not limited to, the conduct of the Plaintiffs and/or

putative class members relates the care and maintenance of the property at issue in

this lawsuit by the Plaintiffs and/or putative class members. Accordingly, any damages

which may have been sustained by the Plaintiffs and/or putative class members were

caused or contributed to by reason of the culpable conduct of the Plaintiffs and/or

putative class members.         The Pendergraph Defendants plead the doctrine of

contributory negligence as a complete bar to the claims asserted by the Plaintiffs and/or

putative class members against the Pendergraph Defendants in this action.

                          Twenty-Fourth Affirmative Defense

       The Plaintiffs and/or putative class members contributed to their alleged illness by

the use, either in whole or in part, of other substances, products, medications

and/or drugs.

                           Twenty-Fifth Affirmative Defense

       The Plaintiffs’ claims and/or the claims of the putative class members against

the Pendergraph Defendants are barred, in whole or in part, by the Plaintiffs’ and/or

the putative class members’ failure to take reasonable action to mitigate the injuries

and/or damages alleged in the First Amended Complaint.

                           Twenty-Sixth Affirmative Defense

       If it is judicially determined that Plaintiffs’ and/or putative class members’

alleged injuries or damages were caused by any alleged conduct on the part of




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the Pendergraph Defendants, such injuries or damages resulted from superseding

intervening and/or interceding acts or omissions on the part of third-parties over whom

the Pendergraph Defendants had neither control nor right of control.               As a result,

any alleged act or omission on the part of the Pendergraph Defendants was not

the proximate and/or competent producing cause of such alleged injuries and damages.

                         Twenty-Seventh Affirmative Defense

       To the extent that the Plaintiffs and/or any putative class members have released,

settled, entered into an accord or satisfaction, or otherwise compromised the claims

against the Pendergraph Defendants in this action, such claims are barred or reduced by

payment, accord, satisfaction, arbitration and award, release, and res judicata.

                          Twenty-Eighth Affirmative Defense

       The Pendergraph Defendants asserts its right to any set-off allowed under law.

                           Twenty-Ninth Affirmative Defense

       All defenses which have been or will be asserted by other defendants in

this action are adopted and incorporated by reference as if fully set forth at length herein

as defenses to the First Amended Complaint to the extent same are applicable and

consistent with positions taken by the Pendergraph Defendants in this answer and are not

adverse to the Pendergraph Defendants.

                             Thirtieth Affirmative Defense

       The Pendergraph Defendants will rely upon any and all other further defenses

which become available or appear during discovery proceedings in this action and hereby

specifically reserves the right to amend its answer for the purposes of asserting any such




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additional affirmative defenses as well as the right to add counterclaims, cross-claims, or

to institute third-party actions which discovery hereafter may reveal to be appropriate.

                             Thirty-First Affirmative Defense

       The Pendergraph Defendants requests recovery of attorney’s fees pursuant to

N.C.G.S. § 75-16.1 for the costs of defending Count III – Violations of UDTPA

on the grounds that said claim is frivolous, without legal or factual basis, and intended to

harass the Pendergraph Defendants.


                   RESERVATION OF AFFIRMATIVE DEFENSES

       The Pendergraph Defendants reserve all affirmative defenses under Rule 8(c) of

the Federal Rules of Civil Procedure and any other defenses, at law or in equity, that

may be available now or that may become available in the future, based on discovery or

other factual investigation of this case.

                                      CROSSCLAIM

       COME NOW the Pendergraph Defendants and assert the following Crossclaim

against Defendants The Town of Holly Ridge and Holly Ridge Housing Authority

(collectively, the “Holly Ridge Defendants”) pursuant to Rule 13(g) of the Federal Rules

of Civil Procedure:

       1.      The Pendergraph Defendants reallege and incorporate herein by reference

their responses to the First Amended Complaint and Affirmative Defenses as set forth in

the foregoing Answer.

       2.      The Holly Ridge Housing Authority (and The Town of Holly Ridge

as its successor   in   interest)   entered   into   the   Management    Agreement     with

Pendergraph Management, LLC in relation to the Holly Plaza Apartments.



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       3.        Under the Management Agreement, the Holly Ridge Defendants

“shall indemnify, protect, defend and hold harmless Manager from and against any and

all claims, demands, losses, and liability (including reasonable attorney fees)

(collectively, the ‘Claims’) incurred by Manager resulting from the performance of

its obligations under this Agreement, except that this indemnification shall not apply with

respect to any Claims resulting from (a) any act by Manager, its agents, employees or

contractors outside the scope of Manager's authority hereunder, (b) any act or failure to

act of Manager, its agents, employees or contractors constituting willful misconduct or

fraud, (c) any act by Manager, its employees, agents or contractors in violation of

any applicable     law;   (d)   any   breach    of   this   Agreement   by    Manager;   or

(e) the gross negligence or willful misconduct of Manager, its agents, employees or

contractors.”

       4.        To the extent that Plaintiffs and/or proposed class members are entitled to

any relief from the Pendergraph Defendants, which is expressly denied, then the liability

of the Pendergraph Defendants arises solely out of the Holly Ridge Defendants’ failure

to perform their obligations or duties pursuant to the applicable standards of care and

pursuant to their contractual relationship with the Pendergraph Defendants.

       5.        If the Pendergraph Defendants are adjudged liable to the Plaintiffs and/or

the proposed class members in any amount, which is expressly denied, then

the Pendergraph Defendants is entitled to contractual and common law indemnity from

the Holly Ridge Defendants for all such amounts.

       6.        The Pendergraph Defendants are also entitled to recover the reasonable

costs of defending this action from the Holly Ridge Defendants.




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        7.     In the alternative to the claims for indemnity, the Pendergraph Defendants

are entitled to contribution from the Holly Ridge Defendants for any amounts for which

they might be adjudged liable to the Plaintiffs and/or the proposed class members

pursuant to N.C.G.S. §1B. et seq.


        WHEREFORE,          having   responded     to   the First Amended         Complaint   in

this action, the Pendergraph Defendants pray the Court as follows:

        1.     That the Plaintiffs and any putative class member have and recover

nothing from them in this action;

        2.     That the First Amended Complaint be dismissed, with prejudice;

        3.     For the costs of this action to be taxed against the Plaintiffs;

        4.     That the Plaintiffs be required to pay reasonable attorney fees for pursuing

frivolous claims against the Pendergraph Defendants for punitive damages;

        5.     That in the event that the Plaintiffs and/or any purported class member

have any recovery from the Pendergraph Defendants, that the Pendergraph Defendants

have and recover indemnification (equitable or contractual) or, in the alternative,

contribution over and against the co-defendants for the amount of any such recovery or

a portion thereof, in accordance with the principles of law regarding apportionment of

fault and damages, along with costs and disbursements, including reasonable attorney

fees;

        6.     For such other and further relief as to the Court deems just and proper.

                            DEMAND FOR A JURY TRIAL

        The Pendergraph Defendants hereby demands a jury trial on all issues raised or

potentially raised by the pleadings as such or as may be amended.



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Respectfully submitted, this the 22nd day of February, 2024.

                              /s/ David L. Brown
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                            CERTIFICATE OF SERVICE

       I hereby certify that on this date, a copy of the foregoing was filed electronically

with the Clerk of Court using the Court’s CM/ECF system. Notice of this filing will be

sent by operation of the Court’s CM/ECF system to counsel of record.

       This the 22nd day of February, 2024.

                                     /s/ David L. Brown
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